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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Christine M. Arguello

  Civil Action No. 12-cv-01166-CMA-MJW

  JEFFREY L. WAINSCOTT, Personal Representative of
    the Estate of Donald L. Wainscott, and
  RENA WAINSCOTT,

          Plaintiffs,

  v.

  ASPEN PRODUCE, LLC,

          Defendant.


       ORDER GRANTING STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE


          This matter coming before the Court on the parties’ Stipulated Motion for

  Dismissal With Prejudice (Doc. # 23), and the Court being fully advised in the premises,

  it is hereby

          ORDERED that the Motion (Doc. # 23) is GRANTED, and the above-captioned

  matter is DISMISSED WITH PREJUDICE, each party to pay his, her or its own costs

  and attorney fees.

          DATED: April    09   , 2013

                                                   BY THE COURT:



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                                                   CHRISTINE M. ARGUELLO
                                                   United States District Judge
